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13                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
14
15 COLUMBIA SPORTSWEAR NORTH                    Case No. 3:17-cv-01781
   AMERICA, INC., an Oregon
16 corporation,                                 SEIRUS’ RESPONSE IN OPPOSITION
17                                              TO COLUMBIA SPORTSWEAR
                Plaintiff,                      NORTH AMERICA, INC.’S MOTION
18                                              FOR TEMPORARY RESTRAINING
         v.                                     ORDER AND INJUNCTIVE RELIEF
19
20 SEIRUS INNOVATIVE                            Judge:        Marco A. Hernandez
   ACCESSORIES, INC., a Utah
21 corporation                                  Hearing Date: December 14, 2017
                                                Hearing Time: 2:00 PM
22                     Defendants.
23                                              Date Action Filed: January 12, 2015
                                                Trial Date: September 18, 2017
24
25
26
27
28
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1                                        INTRODUCTION
2            Columbia’s motion is wrong on the merits. Nothing in the judgment entered in
3      this case prevents Seirus from seeking an ex parte reexamination of the D’093 patent.
4      The ex parte reexamination statute reads: “Any person at any time may file a request
5      for reexamination by the office of any claim of a patent . . . .” See 35 U.S.C. § 302
6      (emphasis added). Columbia asks this Court to rewrite this clear statutory language
7      and prohibit Seirus from requesting reexamination simply because Seirus agreed not
8      to challenge the validity of the D’093 patent in the present litigation. Contrary to
9      Columbia’s argument, Seirus’s agreement has no effect on a challenge to invalidity in
10     a reexamination proceeding.       Nothing in the judgment even contemplates future
11     litigation or proceedings before the PTO, much less evinces the “clear intent” required
12     for such a judgment to preclude such challenges. See, e.g., Ecolab, Inc. v. Paraclipse,
13     Inc., 285 F.3d 1362, 1376 (Fed. Cir. 2002) (holding that “a party does not waive its
14     right to challenge the validity of a patent as to future accused products absent a clear
15     intent to do so” in a settlement agreement or consent judgment). Seirus stipulated to
16     a summary judgment that the D’093 patent “has not been proved invalid.” Under
17     Federal Circuit precedent, that is not enough to preclude Seirus from challenging the
18     validity of the D’093 patent in other proceedings.
19           It would be improper and inequitable to preclude a party that decided to drop a
20     patent validity challenge in district court from exercising its right to challenge validity
21     in the United States Patent & Trademark Office (“PTO”). The interests of judicial
22     economy favor streamlining cases for discovery and trial. But these same interests
23     should not, and cannot, collaterally penalize a litigant by precluding an administrative
24     proceeding it may choose to pursue on an issue carved out of a federal lawsuit. Here,
25     Seirus elected to streamline the litigation by stipulating in this case that the D’093
26     patent is not invalid—that was not a concession that the patent is valid, and Seirus did
27
28                                                  1
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1      not surrender its right to file an ex parte reexamination in an administrative proceeding
2      before the PTO.
3            Accordingly, in the absence of any agreement to the contrary, a final judgment
4      of no invalidity does not preclude reexamination, regardless of whether it was by
5      stipulation, judicial order, or the result of a jury verdict. Simply put, Congress
6      specifically rejected the application of estoppel or res judicata principles in the
7      context of ex parte reexamination.        As the Federal Circuit has recognized, the
8      reexamination statute’s “language and legislative history, as well as the differences
9      between” reexamination and district court proceedings, all indicate that “Congress did
10     not intend a prior court judgment upholding the validity of a claim to prevent the PTO
11     from finding a substantial new question of validity regarding an issue that has never
12     been considered by the PTO.” In re Swanson, 540 F.3d 1368, 1378 (Fed. Cir. 2008).
13     Indeed, the Federal Circuit has routinely recognized that a final judgment of no
14     invalidity in a district court does not prevent parties to that judgment from later
15     seeking ex parte reexamination, nor does it preclude the possibility that the PTO may
16     reach a different finding from the district court. See, e.g., In re Baxter, 678 F.3d 1357
17     (Fed. Cir. 2012) (affirming a PTO finding of unpatentability after, in a previous
18     appeal, the court affirmed a judgment of no invalidity from a district court proceeding
19     involving the party who requested reexamination).
20           Columbia is also wrong on the other aspects of the injunction analysis.
21     Columbia’s claimed irreparable injury is far too removed for the action it seeks to
22     enjoin for the claimed harm to be sufficiently concrete. On the other hand, the harm
23     suffered by Seirus is immediate and concrete as it would have to pay a judgment of
24     millions on a patent that it believes the PTO will find invalid. It is for this very reason
25     that the Supreme Court has recognized that the public interest favors allowing
26     challenges to patents. Parties like Seirus “may often be the only individuals with
27     enough economic incentive to challenge the patentability of an inventor's discovery.
28                                                  2
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1      If [Seirus is] muzzled, the public may continually be required to pay tribute to would-
2      be monopolists without need or justification.” See Lear, Inc. v. Adkins, 395 U.S. 653,
3      670 (1969). Thus, there is a strong public interest in ridding the books of invalid
4      patents that would otherwise give patent owners monopolies over areas that should be
5      free and open for competition, and public use and consumption. This public interest
6      militates strongly in Seirus’ favor. Columbia’s motion should therefore be denied.
7                                         BACKGROUND
8      I.    Background of the Consent Judgment
9            Columbia’s motion relates to the “Judgment of Validity of U.S. Patent
10     D657,093 Pursuant to FRCP Rule 54(b)” entered on the 17th of March, 2016.
11     Although inaptly named, this judgment did not forever and finally deem the D’093
12     patent “valid.” The text of the judgment itself states that the patent “has not been
13     proved invalid,” not that the patent “is valid.” Dkt. 81. Moreover, just as a jury does
14     not decide that a defendant is “innocent” in a criminal trial, patent litigation can never
15     find that a patent is “valid.” The correct judgment concerning the validity of a patent
16     in a district court case should be a judgment of “no invalidity,” meaning that, in that
17     particular case, the defendant has not met his or her burden of demonstrating by clear
18     and convincing evidence that the patent is invalid over whatever prior art was at issue
19     in that case. See, e.g., Swanson, 540 F.3d at 1377 (explaining that if this statutory
20     burden is not met, “courts do not find patents ‘valid,’ only that the patent challenger
21     did not carry the ‘burden of establishing invalidity in the particular case before the
22     court.’”) (internal quotation marks and citations omitted) (emphasis in original)
23           Notably, this judgment was not accompanied by any settlement or other
24     contractual agreement between the parties. By stipulating to the judgment, Seirus did
25     not agree to never challenge the validity of the D’093 patent, nor did Seirus admit that
26     the patent is valid. The stipulation and judgment contains no language precluding
27     challenge by reexamination, or a promise by Seirus to forego its right to pursue
28                                                 3
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1      invalidity in the PTO—and Columbia submits no evidence of the sort, because none
2      exists. Moreover, the stipulated judgment does not say anything about the merits
3      concerning the patent’s validity, including lacking any identification or discussion of
4      prior art, which would be a basis of challenge in reexamination. Rather, for strategic
5      reasons, the judgment simply reflects the reality that Seirus decided not to maintain
6      its challenge to the validity of the D’093 patent in this case.
7      II.   Background Information about Ex Parte Reexaminations
8            Some background information on PTO procedures may be helpful. As the
9      Court is aware, a patent is a federally-granted monopoly for an invention issued by
10     the PTO. To obtain a patent, a party submits a patent application, which is then
11     reviewed for novelty, non-obviousness, and the other requirements of the Patent Act
12     by the PTO. After this initial period of examination, should the patentee prevail in
13     demonstrating entitlement to a patent, the PTO issues the patent, which is then entitled
14     to a “presumption of validity” in district court. See, e.g., 35 U.S.C. § 282; see also
15     generally Microsoft Corp. v. I4I Ltd. Partn., 564 U.S. 91, 96 (2011).
16           The Patent Act, however, also provides for a number of mechanisms for the
17     PTO to review its initial grant of a patent. For example, as implemented by the
18     America Invents Act, a party may petition the PTO for an “inter partes” review of the
19     patent. See generally 35 U.S.C. § 311 et seq. In this procedure, a party petitions the
20     PTO for additional review of the patent, and the PTO decides whether to institute such
21     review based on whether the party has demonstrated a likelihood of demonstrating
22     that claims of a patent should not have issued, i.e., are unpatanable, based on a limited
23     type of prior art. See 35 U.S.C. § 311(b). If the petition is instituted, both the
24     petitioner and patent owner make arguments to the Board, and the Board decides
25     whether the claims should have issued, using a different standard for claim
26     construction and a different burden of proof from that used in district court because
27     there is no presumption of validity before the PTO. See generally 35 U.S.C. § 318;
28                                                 4
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1    35 U.S.C. § 316(e); Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct. 2131, 2140 (2016).
2    Notably, because this procedure before this PTO is “inter partes” and is, in essence,
3    a mini trial concerning the validity of a patent, Congress elected to place limits on
4    who and when a party may bring such a petition. See 35 U.S.C. § 315(a) (prohibiting,
5    for example, a party from bringing an IPR if the party has been sued more than one
6    year prior to its petition).
7           Unlike inter partes review, ex parte reexamination involves an initial request
8    for reexamination (which can be made by a challenger like Seirus), and then the
9    proceeding continues with just the patent owner and the PTO participating. As the
10   name “ex parte” would imply, the PTO independently conducts a review of an issued
11   patent—without involvement of the requestor—once it decides whether a “request”
12   for a reexamination submitted to the PTO raises a “substantial new question of
13   patentability affecting any claim of a patent.” 35 U.S.C. § 304. And, also unlike inter
14   partes review, Congress did not place any limits on who or when a request for
15   reexamination may be brought based on previous litigation. The statute broadly
16   provides that “[a]ny person at any time may file a request for reexamination,” even
17   including the patent owner. See 35 U.S.C. § 302 (emphasis added). In fact, the statute
18   even provides that ex parte reexamination may be instituted sua sponte by the Office,
19   35 U.S.C. § 304. “In a very real sense, the intent underlying reexamination is to ‘start
20   over’ in the PTO with respect to the limited examination areas involved, and to re-
21   examine the claims, and to examine new or amended claims, as they would have been
22   considered if they had been originally examined in light of all of the prior art of record
23   in the reexamination proceeding.” In re Etter, 756 F.2d 852, 857 (Fed. Cir. 1985). In
24   essence, ex parte reexamination is a sort of quality-control mechanism by which the
25   PTO makes sure that the monopolies its grants should be entitled to the presumption
26   of validity those grants are afforded in district court.
27
28                                                5
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1                                     LEGAL STANDARD
2          An injunction is an “extraordinary remedy” that can never be granted “as of
3    right.” Winter v. Nat. Resources Def. Council, Inc., 555 U.S. 7, 24 (2008). “Equitable
4    relief” like an injunction “is not granted as a matter of course and a court should be
5    particularly cautious when contemplating relief that implicates public interest.”
6    Salazar v. Buono, 559 U.S. 700, 714 (2010) (internal citations omitted). It has also
7    long been the rule that courts should be particularly cautious when entering
8    injunctions that would “interfere with or try to restrain” proceedings in another forum,
9    except in certain circumstances not relevant here. See, e.g., Donovan v. City of Dallas,
10   377 U.S. 408, 412 (1964).1
11         To demonstrate entitlement to an injunction, the requesting party must be (1)
12   correct on the merits; (2) demonstrate that it will suffer irreparable harm in the absence
13   of an injunction; (3) that the balance of the equities are in its favor; and (4) that an
14   injunction is in the public interest. See Winter, 555 U.S. at 20; Amoco Prod. Co. v.
15   Vill. of Gambell, 480 U.S. 531, 546 n.14 (1987). Contrary to Columbia’s assertion
16   that “once actual success on the merits is established, a party is entitled to relief as a
17   matter of law irrespective of the amount of irreparable injury may be shown,” see Mot.
18   at 7, the Supreme Court has rejected the application of rules of thumb that would lead
19   to the automatic grant of injunctions. See eBay Inc. v. MercExchange, L.L.C., 547
20   U.S. 388, 394 (2006) (rejecting the Federal Circuit’s rule that called for near-
21   automatic injunctions to issue after success on the merits). Notably, the reasoning
22   Columbia asks this Court to adopt was explicitly overruled by the Supreme Court. In
23   Winter, the Supreme Court reviewed the 9th Circuit’s rule that, once success on the
24   merits had been established, an injunction may be entered based on a mere
25   “possibility” of irreparable harm. See 555 U.S. at 21. The Supreme Court rejected
26
27   1
      As explained in this case, “[a]n exception has been made in cases where a court has
     custody of property, that is, proceedings in rem or quasi in rem.” See id.
28                                               6
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1    this standard and held that, in every case, a party asking for an injunction must show
2    that irreparable harm is likely, not merely possible. See id. at 22. As the Court
3    explained, entering an injunction based on a possibility of irreparable harm “is
4    inconsististent with [the Court’s] characterization of injunction relief as an
5    extraordinary remedy that may only be awarded upon a clear showing that the plaintiff
6    is entitled to such relief.” Id.
7           Following Ebay and Winter, this Court and others have correctly explained that
8    to obtain an injunction, a party must make a “clear showing” of all “required”
9    elements. Giftango, LLC v. Rosenberg, 925 F. Supp. 2d 1128, 1138 (D. Or. 2013)
10   (Hernandez, J.); see also Lopez v. Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (a
11   “‘preliminary injunction is an extraordinary and drastic remedy, one that should not
12   be granted unless the movant, by a clear showing, carries the burden of persuasion’”).
13                                       ARGUMENT
14   I.     Columbia is Wrong on the Merits: The Consent Judgment Does Not
            Preclude Seirus from Requesting Additional Examination by the PTO
15
16          A.     The Consent Judgment is Not a Contract That Forever Resolves the
                   Validity of the D’093 Patent Between the Parties
17
            Columbia argues that “[i]t is well established that a consent judgment on patent
18
     validity is a binding settlement agreement and is given res judicata effect as to the
19
     parties to the judgment.” Columbia is flatly wrong. To be clear, Seirus does not
20
     dispute that the partial judgment entered in this case prevents it from challenging the
21
     validity of the D’093 patent in this case. For example, Seirus would have been barred
22
     from raising invalidity of the D’093 patent at trial. However, simply because Seirus
23
     stipulated that the D’093 patent “has not been proved invalid” in this action does not
24
     mean that Seirus is forever barred from challenging the validity of the D’093 in future
25
     litigations or in administrative proceedings.
26
27
28                                              7
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1          Columbia’s motion only tells half the story. Columbia is correct that the
2    Federal Courts favor policies that encourage settlement. See Baseload Energy, Inc. v.
3    Roberts, 619 F.3d 1357, 1361 (Fed. Cir. 2010). But both the Supreme Court and the
4    Federal Circuit have recognized a countervailing policy in allowing challenges to the
5    validity of the monopolies granted by the issuance of a patent. See id.; see also Lear,
6    395 U.S. at 670 (recognizing that parties like Seirus may be the only ones financially
7    incentivized to challenge the validity of a patent and that there is an “important public
8    interest in permitting full and free competition in the use of ideas”). These two
9    interests “must be balanced.” Baseload Energy, 619 F.3d at 1362 (emphasis added);
10   see also Flex-Foot, Inc. v. CRP, Inc., 238 F.3d 1362, 1368 (Fed. Cir. 2001) (“the
11   important policy of enforcing settlement agreements and res judicata must themselves
12   be weighed against the federal patent laws’ prescription of full and free competition
13   in the use of ideas that are in reality a part of the public domain”); Foster v. Hallco
14   Mfg. Co., Inc., 947 F.2d 469, 474 (Fed. Cir. 1991) (recognizing an important “policy
15   in favor of precluding restrictions on attacks on patent validity” that must be balanced
16   against any policy favoring settlement); Warner-Jenkinson Co. v. Allied Chem. Corp.,
17   567 F.2d 184, 188 (2d Cir. 1977) (“There is certainly a public interest in the avoidance
18   of litigation through the peaceful resolution of lawsuits. In the patent field, however,
19   this interest is to be balanced against the public interest in having invalid patents
20   cleared away through litigation.”) As a result of this balancing, the Federal Circuit
21   has held that “a party does not waive its right to challenge the validity of a patent as
22   to future accused products absent a clear intent to do so.” Ecolab, 285 F.3d at 1376
23   (applying this principle in the context of a second lawsuit on new products; discussed
24   in more detail below); see also Baseload Energy, 619 F.3d at 1362(“invalidity and
25   unenforceability claims may be released, but only if the language of the agreement
26   or consent decree is clear and unambiguous”) (emphasis added); Foster, 947 F.2d at
27   481 (Fed. Cir. 1991) (“we adopt the position that provisions in a consent judgment
28                                               8
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1    asserted to preclude litigation of the issue of validity in connection with a new claim
2    must be construed narrowly”).
3          Here, the entirety of the judgment reads:
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11
12
13         Columbia repeatedly characterizes the judgment as a “contract” wherein Seirus
14   stipulated that the patent is “valid.” See, e.g., Mot. at 4, 8. As any plain reading of
15   the judgment will reveal, Columbia’s assertion has no basis in fact. The judgment
16   clearly states that the D’093 patent “has not been proved invalid,” a reference to a
17   specific factual determination at issue in this proceeding alone. Agreeing that the
18   patent has not been proved invalid does not speak to future proceedings or the validity
19   per se of the patent, and the difference here is important. See, e.g., Swanson, 540 F.3d
20   at 1377 (explaining that if a party in litigation has not met its burden of proving a
21   patent valid, “courts do not find patents ‘valid,’ only that the patent challenger did not
22   carry the ‘burden of establishing invalidity in the particular case before the court.’”)
23   (internal quotation marks and citations omitted) (emphasis in original). In fact, the
24   judgment makes this point specifically—after stating only that the patent “has not
25   been proved invalid,” it dismisses only Serius’ counterclaim and defense of invalidity
26   associated with that patent. As written, nothing in this judgment precludes a future
27   challenge to the validity of the D’093 patent in a different proceeding, especially an
28                                               9
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                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    ex parte reexamination before the PTO. The judgment in no way divests Seirus of its
2    right to challenge the patent’s validity in an administrative reexamination by the
3    PTO—a vehicle that Congress created, and broadly enabled for pursuit by “any person
4    at any time” (35 U.S.C. § 302), to advance the public interest in the elimination of
5    invalid monopolies.
6          In circumstances such as these, the Federal Circuit has held that a consent
7    judgment does not forever bar a party from challenging the validity of a patent. For
8    instance, the Federal Circuit has explicitly held that language even more forceful than
9    that used in the consent judgment here does not evidence a “clear intent” to give up
10   future challenges to validity. In Foster, the parties had previously agreed to a consent
11   judgment that declared that the asserted patents were “valid and enforceable in all
12   respects.” 947 F.2d at 481. Like Columbia here, the patentee in that case argued that
13   future challenges to validity were barred because the consent judgment was “binding
14   upon and constitutes res judicata between the parties.” Id. (quoting the patentee’s
15   argument) (internal quotation marks omitted).        The Federal Circuit concluded
16   otherwise, holding that the agreement was “ambiguous with respect to barring” future
17   validity challenges. See id. at 482.2 Similarly, in Ecolab, the Federal Circuit faced a
18   situation where a defendant from an earlier lawsuit was sued again on different
19   products. The earlier suit had ended with a consent judgment declaring that an
20   asserted patent is a “valid patent.” Nonetheless, the Federal Circuit found that this
21   consent judgment did not preclude the defendant from being able to assert invalidity
22   against that same patent in the subsequent action, explaining that “[g]reater clarity
23   than this is required to foreclose” future validity challenges. 285 F.3d at 1377.
24
     2
25    In Foster, the Federal Circuit remanded for the district court to consider extrinsic
     evidence as to the parties’ intent in entering the consent agreement. Columbia has not
26
     presented any extrinsic evidence that the parties intended to preclude future litigation
27   or administrative proceedings here, nor could it, as that was never the intent of the
     parties.
28                                                10
          SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                      RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1          This is especially true for an ex parte reexamination proceeding before the PTO,
2    which Columbia specifically targets in its motion. Columbia cites the dissent from
3    Joy Mfg. Co. v. Nat’l Mine Serv. Inc., 810 F.2d 1127 (Fed. Cir. 1987), to support its
4    argument that Seirus should be barred from petitioning the PTO for ex parte
5    reexamination. See Mot. at 9. But the majority in that case applies the rule that ex
6    parte reexamination should not be barred unless clearly and unambiguously barred in
7    a settlement agreement. In that case, the parties had previously settled infringement
8    litigation, and the accused infringer agreed to “not file any suit in any United States
9    Court or any Court in any foreign country challenging or contesting the validity of the
10   Licensed Patents.” Id. at 1129. The accused infringer, after entry of judgment,
11   petitioned the PTO for ex parte reexamination of the patent, and the patent owner
12   moved to enforce the settlement to bar that challenge. See id. The district court denied
13   the motion, and the Federal Circuit affirmed, reasoning that the settlement agreement
14   did not prevent the accused infringer from petitioning for reexamination because “a
15   request for administrative reexamination by the United States Patent and Trademark
16   Office” is not the same thing as “filing a suit in a United States Court.” Id. at 1129–
17   30.
18         Columbia also cites Flex-Foot, Inc. v. CRP, Inc., 238 F.3d 1362, 1363 (Fed.
19   Cir. 2001). But, unlike the judgment entered here, the settlement agreement in that
20   case specifically contemplated future validity challenges. The license agreement
21   entered into by the parties in that case clearly and unambiguously provided that the
22   accused infringer “agrees not to challenge or cause to be challenged, directly or
23   indirectly, the validity or enforceability of the [asserted patents] in any court or other
24   tribunal, including the United States Patent and Trademark Office.” Id. at 1364. No
25   similar language is present in the judgment entered in this case.
26         Lastly, Columbia cites a 1982 district court case from Texas that was decided
27   the year the Federal Circuit came into being, and shortly after the ex parte
28                                               11
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    reexamination statute was put into place. See Motion at e.g., 2, citing Houston Atlas,
2    Inc. v. Del Mar Sci., Inc., 1982 U.S. Dist. LEXIS 10046, *19 (N.D. Tex. 1982). In
3    that case, the parties entered into a comprehensive settlement agreement, which
4    included entry of a Judgment that specifically stated the parties agreed that the claims
5    1, 2, and 4 of the asserted patent “are valid as between the parties.” Houston Atlas at
6    *3. This stands in stark contrast to the judgment here, which states that the patent
7    “has not been proved invalid” and simply dismisses Seirus’ counterclaims and
8    defenses as to invalidity. This nearly-forty-year-old district court decision is also in
9    direct conflict with the subsequent Federal Circuit law discussed above, and should
10   not be followed.3
11         Lastly, Columbia makes much of the words “with prejudice” in the consent
12   judgment. However, the words “with prejudice” simply indicate that the judgment of
13   no-invalidity was meant to be a final judgment with respect to the claims brought in
14   this case. As the Federal Circuit has explained, “[a]n assertion of invalidity of a patent
15   by an alleged infringer is not a ‘claim’ but a defense to the patent owner's ‘claim’” of
16   infringement, regardless of whether invalidity is asserted as an affirmative defense or
17   as a counterclaim. Foster, 947 F.2d at 479. As in Foster and in Ecolab, the judgment
18   here simply resolved the defense of validity with respect to the claims at issue in this
19   case, namely, Columbia’s claim that certain Seirus products infringe its patent. Thus,
20   the judgment here is inexorably tied to the actual claims in this case and does not apply
21   to any future claims that might arise beteween the parties, and certainly does not
22   preclude Seirus from seeking administrative review in a totally unrelated process.
23
24
25
26   3
      Indeed, this case has never been cited for the proposition that Columbia cites it for
27   here. The only proposition for which this case has been substantively cited is that a
     district court cannot enjoin the PTO from reexamining a patent.
28                                             12
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1           B.     Absent an Explicit and Clear Agreement to the Contrary, a Final
                   Judgment of No Invalidity Does Not Prevent a Party from Seeking
2
                   Reexamination
3
            The language of the ex parte reexamination statute is clear: “[a]ny person at
4
     any time may file a request for reexamination by the Office of any claim of a patent
5
     on the basis of any prior art cited under the provisions of section 301.” 35 U.S.C.
6
     § 302. Unlike provisions governing other post-grant proceedings before the office
7
     such as inter partes review, the ex parte reexamination statute does not contain any
8
     estoppel provisions that would, for example, prevent a party from challenging the
9
     validity of a patent depending on whether that party has been involved in district court
10
     litigation involving the patent. Cf. 35 U.S.C. § 315(a)(1) (“An inter partes review may
11
     not be instituted if, before the date on which the petition for such a review is filed, the
12
     petitioner or real party in interest filed a civil action challenging the validity of a claim
13
     of the patent.”). Notably, Congress left this scheme in place for ex parte
14
     reexaminations even as it was overhauling other aspects of post-patent-grant review,
15
     including adding other limitations to a party’s ability to seek ex parte
16
     reexamination.     See 35 U.S.C. § 315(e)(1) (providing that a party “may not request
17
     or maintain a proceeding before the Office with respect to that claim on any ground
18
     that the petitioner raised or reasonably could have raised during that inter partes
19
     review”). Simply put, Congress specifically declined to implement estoppel or res
20
     judicata principles based on district court litigation in the context of ex parte
21
     reexamination because it didn’t write any into the amended statute.
22
            Accordingly, the PTO’s implementing regulations governing ex parte
23
     reexamination explicitly recognize that “[t]he only ‘person’ who is barred from filing
24
     a request for ex parte reexamination of a patent under 35 U.S.C. 302 is one who is
25
     barred from doing so by the estoppel provisions” of the America Invents Act relating
26
     to petitions for other reviews by the PTO.            See Manual of Patent Examining
27
28                                                13
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    Procedure4 (“MPEP”) § 2212.5        Like the statute, nothing in the PTO regulations
2    suggest that res judicata or any other form of estoppel based on a district court
3    proceeding would prevent further examination by the PTO. In fact, the PTO has
4    specifically stated that “[t]he doctrine of res judicata based on a court holding in an
5    infringement proceeding is not applicable in reexamination proceedings . . . .” See
6    Manual of Patent Examination Procedure § 2259.
7          The reasoning for this is plain. First, an ex parte reexamination is not an
8    adversarial proceeding—once a party makes his or her request to the PTO, the party
9    is no longer involved. The requestor has no rights of appeal, nor any ability to
10   influence the outcome of the reexamination beyond making the original request. The
11   PTO—not the petitioner—conducts the reexamination of the patent claims. Indeed it
12   makes very little sense to talk about res judicata in the context of reexaminations
13   because reexamination is simply an extension of the original examination of the
14   claims. The PTO, not the petitioner, is the party conducting the examination, and the
15   PTO is not a party to district court validity proceedings. See In re Texas Holdings
16   Corp., 498 F.3d 1290 (Fed. Cir. 2007) (holding that the PTO was not bound by an
17   earlier district court ruling based on res judicata because “the PTO was not even a
18   party to the earlier district court litigation and cannot be bound by its outcome.”); see
19
20
21
     4
       For reference, the Manual of Patent Examination Procedure is a manual for both
22
     PTO employees and for the public as to how the Patent Office examines and re-
23   examines patents that is derived from both PTO regulations and Federal Circuit
     rulings.      The MPEP is available on the PTO’s website at
24
     https://www.uspto.gov/web/offices/pac/mpep/index.html.
25   5
        As noted above, the AIA added some limitations to who may request an ex parte
26   reexamination based on whether that person had previously requested inter partes
     review or another form of post-patent-grant review, simply called post-grant review.
27   See id.
28                                              14
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    also Etter, 756 F.2d at 859 (noting that in ex parte reexamination, “no litigating
2    adversary is present”).6
3          Second, ex parte reexamination is nothing like a Court proceeding, and it is not
4    unusual or inconsistent for the PTO to reach a conclusion different from a district
5    court proceeding. As discussed above, a party must prove a patent invalid in district
6    court by clear and convincing evidence because of a presumption of validity. See 35
7    U.S.C. § 282. In the PTO, no such presumption applies. As the Federal Circuit has
8    explained:
9                 That one challenging validity in court bears the burden
                  assigned by § 282, that the same party may request
10
                  reexamination upon submission of art not previously cited,
11                and that, if that art raises a substantial new question of
                  patentability, the PTO may during reexamination consider
12
                  the same and new and amended claims in light of that art
13                free of any presumption, are concepts not in conflict. On
                  the contrary, those concepts are but further indication that
14
                  litigation and reexamination are distinct proceedings, with
15                distinct parties, purposes, procedures, and outcomes. In the
                  former, a litigant who is attacking the validity of a patent
16
                  bears the burden set forth in § 282. In the latter, an
17                examiner is not attacking the validity of a patent, but is
18                conducting a subjective examination of claims in the light
                  of prior art.
19
     Etter, 756 F.2d at 857–58.
20
           It is for this very reason that the Federal Circuit has repeatedly affirmed PTO
21
     reexamination     decisions   finding   claims   unpatentable,    even      when   those
22
23
     6
       In fact, the party requesting reexamination need not actually identify themselves to
24   the PTO. Per PTO regulations, “[t]he rules do not require ex parte reexamination
25   requesters to identify themselves upon the filing of the request.” Manual of Patent
     Examination              Procedure            § 2214,            available          at
26
     https://www.uspto.gov/web/offices/pac/mpep/s2214.html. It hardly makes sense to
27   apply a doctrine that prohibits a party from initiating litigation to administrative
     procedure that does not even require that the party identify itself.
28                                              15
          SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                      RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    reexaminations were requested by a party who was previously involved in litigation
2    resulting in a final judgment of no invalidity. See, e.g., See In re Baxter Intern., Inc.,
3    678 F.3d 1357, 1360 (Fed. Cir. 2012); In re Constr. Equip. Co., 665 F.3d 1254, 1256
4    (Fed. Cir. 2011). As the Federal Circuit has explained, the reexamination statute’s
5    “language and legislative history, as well as the differences between” reexamination
6    and district court proceedings, all indicate that “Congress did not intend a prior court
7    judgment upholding the validity of a claim to prevent the PTO from finding a
8    substantial new question of validity regarding an issue that has never been considered
9    by the PTO.” Swanson, 540 F.3d at 1378. A contrary holding “would allow a civil
10   litigant’s failure to overcome the statutory presumption of validity to thwart Congress'
11   purpose of allowing for a reexamination procedure to correct examiner errors, without
12   which the presumption of validity never would have arisen.” Id.
13         For example, in one such case, the Federal Circuit had previously heard an
14   appeal from a district court case and had affirmed the judgment of no-invalidity of the
15   patent at issue. See Baxter, 678 F.3d at 1360. The losing party in the original appeal
16   requested reexamination of the same patent by the PTO, and the PTO eventually found
17   all challenged claims unpatentable. See id. at 1361. The Federal Circuit affirmed the
18   PTO’s decision, explaining “the PTO in reexamination proceedings and the court
19   system in patent infringement actions take different approaches in determining
20   validity and on the same evidence could quite correctly come to different
21   conclusions.” Id. at 1367; see also Constr. Equip. Co., 665 F.3d at 1256 (similarly
22   upholding a PTO finding of unpatentability from an ex parte reexamination brought
23   by an adjudged infringer despite a previous judgment of no invalidity).
24         In short, a previous final judgment of no invalidity does not preclude a later
25   finding of unpatentability by the PTO during reexamination proceedings. Similarly,
26   a previous consent judgment that a patent is not invalid does not preclude a later
27   finding of unpatentability by the PTO. And, by the same token, Seirus should not be
28                                               16
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    precluded from seeking to invoke a reexamination of the design patent since neither
2    the judgment nor any other document would bar such an action.
3    II.   Each of the Other Injunction Factors Weighs in Favor of Seirus
4          As discussed above, Columbia is incorrect on the merits. That is reason enough
5    to deny Columbia’s motion without any need for diving into the equitable
6    considerations necessary for the grant of an injunction. However, even if Columbia’s
7    position were not meritless, an injunction should not issue because Columbia also fails
8    to show that the equitable factors weigh in favor of an injunction.
9          Irreparable Harm. Columbia argues that it will suffer irreparable harm from
10   the PTO finding its patent invalid unless Seirus is enjoined from requesting
11   reexamination. See Mot. at 9–10. But multiple contingencies must occur before
12   Seirus’s request would injure Columbia. Specifically, the PTO would have to institute
13   the proceedings and reach a finding of invalidity before Columbia would actually
14   suffer injuries from Seirus’s request. Unless Columbia is willing to concede that its
15   patent is invalid, it is impossible to predict whether the Patent Office will decide to
16   institute ex parte reexamination, much less what the outcome of that proceeding might
17   be.
18         The circumstances Columbia offers show a possibility of injury, but are too
19   contingent to satisfy the likelihood of irreparable harm standard. A movant seeking a
20   preliminary injunction must show that “irreparable injury is likely in the absence of
21   an injunction.” Winter, 555 U.S. at 22 (emphasis added). It is not enough to show a
22   “possibility” of harm, as “a possibility of irreparable harm is inconsistent with [the]
23   characterization of injunctive relief as an extraordinary remedy that may only be
24   awarded upon a clear showing that plaintiff is entitled to such relief.” Id. For
25   example, this standard is not met if multiple contingencies must occur before injuries
26   would ripen into concrete harms. See Caribbean Marine Servs. Co., Inc. v. Baldrige,
27   844 F.2d 668, 675 (9th Cir. 1988) (finding that, where multiple contingencies must
28                                             17
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    occur before an injury would become a concrete harm, the injury was “too speculative
2    to constitute an irreparable harm justifying injunctive relief”); see also, e.g., Advanced
3    Micro Devices, Inc. v. S3 Graphics Co., Ltd., No. 11-965-LPS, 2011 WL 5402667, at
4    *2 (D. Del. Nov. 8, 2011) (adverse outcome in ITC proceeding “simply too remote
5    and speculative to establish irreparable harm” where proceedings were in progress and
6    favorable outcome remained “at least possible”); Leibowitz v. Smith Barney Inc., 863
7    F. Supp. 171, 173 (S.D.N.Y. 1994) (“mere possibility” of arbitration proceedings
8    resulting in collateral estoppel against plaintiffs “too speculative and remote to justify
9    the imposition of a preliminary injunction”); Nat’l Union Elec. Corp. v. Emerson
10   Elecs., S.p.A., 1975 WL 21094, at *4 (S.D.N.Y. Sept. 10, 1975) (“Until the Italian
11   proceeding is concluded, it is sheer speculation for NUEC to predict its outcome, or
12   the possibility of economic loss if the outcome is unfavorable to NUEC. Injunctive
13   relief is not appropriate in a situation such as this, against prospective irreparable
14   injury which at this point is entirely speculative and remote and may never occur.”).
15         Applying this standard, the Federal Circuit has found that a patentee does not
16   suffer irreparable harm when a party requests PTO review of its patent. In IGT v.
17   Aristocrat Techs., Inc., a patentee sought to enjoin an alleged infringer from
18   petitioning the PTO for inter partes review, contending that it would suffer irreparable
19   injury if its patents were found to be invalid. 646 Fed. Appx. 1015, 1017–18 (Fed.
20   Cir. 2016). But, as the Federal Circuit explained, the alleged harm was far too
21   removed from the action the patentee sought to enjoin. As here, in order for the
22   alleged harm to occur, the PTO had to both institute proceedings and ultimately
23   vindicate the petitioner’s position.        The Federal Circuit explained: “these
24   circumstances are far too contingent to satisfy the likelihood of irreparable harm
25   standard.” Id. at 1019. Because, like the patentee in IGT, Columbia can only point to
26
27
28                                               18
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1    the possibility of irreparable harm only if everything at the PTO goes against it, no
2    injunction can issue.7
3          Balance of the Equities. The balance of the equities weighs strongly in favor
4    of Seirus. In considering the balance of equities, the Court must weigh “the competing
5    claims of injury and . . . consider the effect on each party of the granting or withholding
6    of the requested relief.” Amoco Prod. Co. v. Village of Gambell, AK, 480 U.S. 531,
7    542 (1987). As discussed above, Columbia does not suffer any real concrete harm in
8    the absence of an injunction.       Moreover, if Columbia’s patent is indeed valid,
9    Columbia will suffer no harm at all, as the PTO will simply either deny Seirus’s
10   request or vindicate Columbia’s position during reexamination. If, on the other hand,
11   Columbia’s patent is in fact invalid, then Seirus will suffer immense harm by having
12   to pay a judgment of millions on an invalid patent, and from having to refrain from
13   selling products that are precluded by an invalid monopoly. When the harm of having
14   to pay a judgment on an invalid patent is weighed against the minimal harm suffered
15   by Columbia, the balance of the equities tips heavily in favor of Seirus.8
16
17   7
       To the extent that Columbia will claim that it suffers irreparable harm by having to
     defend its patent at the PTO, that too cannot satisfy the irreparable harm standard. See
18   Li v. A Perfect Franchise, Inc., No. 5:10-CV-01189-LHK, 2011 WL 2293221, at *4
19   (N.D. Cal. June 8, 2011) (“Many courts . . . have concluded that incurring litigation
     expenses does not amount to an irreparable harm.”); see also Los Angeles Mem’l
20   Coliseum Comm’n v. Nat’l Football League, 634 F.2d 1197, 1202 (9th Cir. 1980)
21   (“[M]onetary injury is not normally considered irreparable.”).
     8
       The balance of the equities weighs further in favor of Seirus here because Columbia’s
22   motion publicly revealed information discussed during settlement talks that were, by
23   their very nature and by written non-disclosure agreement of the parties, highly
     confidential. Columbia should not be able to receive equitable relief when, in asking
24   for that relief, it violates an agreement between the parties. “It is one of the
25   fundamental principles upon which equity jurisprudence is founded, that before a
     complainant can have a standing in court he must first show that not only has he a
26
     good and meritorious cause of action, but he must come into court with clean hands.”
27   Keystone Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 244 (1933) (internal
     quotation marks omitted).
28                                              19
           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1           Public Interest. The public interest also weighs against an injunction. As
2    discussed above, the Supreme Court has recognized an “important public interest in
3    permitting full and free competition in the use of ideas which are in reality a part of
4    the public domain.” Lear, 395 U.S. at 670. More recently, in Cardinal Chem. Co. v.
5    Morton Int’l, Inc., 508 U.S. 83 (1993), the Court recognized the “importance to the
6    public at large of resolving questions of patent validity.” Id. at 100. And in In re Baker
7    Hughes Inc., 215 F.3d 1297 (Fed. Cir. 2000), the Federal Circuit observed that “[t]he
8    public interest lies in having valid patents upheld and invalid patents rendered invalid,
9    and hence patents should be reexamined when a substantial question of patentability
10   is raised.” Id. at 1302; see also Nestier Corp. v. Menasha Corp.-Lewisystems Div.,
11   739 F.2d 1576, 1581 (Fed. Cir. 1984) (“There is a stronger public interest in the
12   elimination of invalid patents than in the affirmation of a patent as valid . . . .”).
13   Congress vindicated this strong public interest in creating an ex parte reexamination
14   procedure that allows anyone to challenge the validity of an issued patent before the
15   PTO. The injunction Columbia seeks is directly contrary to this important public
16   interest.
17          Here, Columbia’s motion relies on nothing more than the consent judgment,
18   which, as pointed out above, states in the body that the patent is not invalid—not that
19   Seirus has conceded for all purposes and proceedings that the patent is valid. The
20   judgment goes on to dismiss the defense and counterclaims of invalidity—not to bind
21   Seirus more broadly than this case. Nowhere does it state, therefore, that Seirus is
22   precluded from challenging the patent in subsequent litigation (which Seirus would
23   be able to do under applicable law, if Columbia were to sue on new products, as
24   described above). Nor does it limit proceedings before the PTO, including ex parte
25   reexamination. Like the licensor in the Supreme Court’s Lear case, “the equities of”
26   the beneficiary of a consent judgment, here Columbia, “do not weigh very heavily
27   when they are balanced against the important public interest in permitting full and free
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           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
                                                           Case No. Case No. 3:17-cv-01781
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1    competition in the use of ideas which are in reality a part of the public domain.” 395
2    U.S. at 670. In other words, the public has a strong interest in removing what amounts
3    to an illegal monopoly that may be used to stifle competition, remove ideas and
4    designs from the public domain, and disgorge profits from the use and sale of products
5    that should otherwise be fully and freely on the open market.
6              Moreover, in this case, Columbia has taken the position post-verdict that it can
7    separately sue Seirus’ customers for infringement of the design patent and force them
8    to disgorge profits on the Seirus products they have sold. It has informed Seirus that
9    it may pursue such actions. Accordingly, the public interest weighs even more heavily
10   here, because the public will benefit even more from the potential invalidation of a
11   patent that has been threatened against not just Seirus, but downstream customers. If
12   Columbia is correct, and disgorgement of profits may be taken at every step of the
13   supply and sales chain, then the public interest is paramount in extinguishing an illegal
14   monopoly created by a design patent that takes profits from every level of the vertical
15   and horizontal market for goods. Nothing conflicts more squarely with the principles
16   of free market, a foundation of this country, than an illegal monopoly that can be
17   exercised so widely and deeply.
18             Thus, the public interest alone weighs sufficiently to deny the injunction. When
19   coupled with the merits, and the other equities, it becomes abundantly clear that
20   Columbia has not, and cannot, make the requisite showing of entitlement to injunctive
21   relief.
22                                         CONCLUSION
23             For the reasons described above, Columbia’s motion should be denied.
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           SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                       RESTRAINING ORDER AND INJUNCTIVE RELIEF
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 Case 3:17-cv-01781-HZ Document 404 Filed 11/29/17 PageID.18273 Page 27 of 28




1    Dated: November 29, 2017            FISH & RICHARDSON P.C.
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         SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
                                     RESTRAINING ORDER AND INJUNCTIVE RELIEF
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1                              CERTIFICATE OF SERVICE
2          The undersigned hereby certifies that a true and correct copy of the above and
3    foregoing document has been served on November 29, 2017, to all counsel of record
4    who are deemed to have consented to electronic service via the Court’s CM/ECF
5    system per Civil Local Rule 5.4. Any other counsel of record will be served by
6    electronic mail, facsimile and/or overnight delivery.
7
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          SEIRUS’ RESPONSE IN OPPOSITION TO COLUMBIA’S MOTION FOR TEMPORARY
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